          Case 5:23-cr-00636-JKP Document 21 Filed 12/13/23 Page 1 of 1


                                                                                FILED
U.S. Department of Justice                                                 December 13, 2023
United States Attorney
                                                                         CLERK, U.S. DISTRICT COURT
                                                                         WESTERN DISTRICT OF TEXAS
                                                                               By:    MR
                                                                                            Deputy
                          United States District Court                 Clerk


                           Western District of Texas
UNITED STATES OF AMERICA                     )
                                             )
v                                            )
                                             )
BRADLEE TAYLOR GRINDE (3)                           Case No: SA:23-CR-00636-JKP(3)


                             ORDER FOR BENCH WARRANT

        It appearing to the Court than an Indictment has been returned against the below named
defendant, it is hereby ORDERED that warrant issue for the arrest of said defendant, returnable
instanter to the San Antonio Division of this Court.

                                           Defendant

                              BRADLEE TAYLOR GRINDE (3)



       ENTERED at San Antonio, Texas, this 13th day of December, 2023.




                                     UNITED STATES MAGISTRATE JUDGE


If the Defendant is arrested outside the Western District of Texas, the United States Attorney for
the Western District of Texas recommends that Defendant BRADLEE TAYLOR GRINDE (3)
be detained without bond after a hearing.
